
50 So. 3d 797 (2011)
Joseph P. BAIN a/k/a Joseph Bain and Lashun D. Bain a/k/a Lashun Bain, Appellants,
v.
UBS REAL ESTATE SECURITIES, INC., Appellee.
No. 4D10-2904.
District Court of Appeal of Florida, Fourth District.
January 12, 2011.
Garry W. Johnson and Bruce K. Herman of 511-Law, P.A., Fort Lauderdale, for appellants.
Michael K. Winston and Dean A. Morande of Carlton Fields, P.A., West Palm Beach, for appellee.
PER CURIAM.
Affirmed. See Freemon v. Deutsche Bank Trust Co. Americas, 46 So. 3d 1202 (Fla. 4th DCA 2010); Am. Bankers Ins. Co. v. Zapata, 761 So. 2d 1216 (Fla. 2d DCA 2000).
POLEN, CIKLIN and LEVINE, JJ., concur.
